Case 2:99-cV-03061-BBD-STA Document 218 Filed 08/03/05 Page 1 of 5 Page|D 276
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IN THE UNITED STATES DISTRICT COURT

 

FOR THE wEsTERN DIsTRIc'r oF TENNESSEE 05 AUG -3 ppg 5, |5
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AMERICAN NATIONAL MoRTGAGE, INC., f `I *"“MS

Plaintiff,
No. 99-3061-D

V.

WILLIAM N. GRIFFIN, et al.,

Defendauts.

 

ORDER CONTINUING DEFENDAN'I` SECURITY TITLE COMPANY, INC.’S
MOTION FOR SUMMARY JUDGMENT (Dkt. #204)

 

Before the Court is the motion for summary judgment of Security Title Company, Inc.
(“Security Title” or “Defendant”). For the reasons stated below, the Court CONTINUES
Defendant’s motion for summary judgment pursuant to Fed. R. Civ. P. 56(t).

Security Title filed a motion for summary judgment on March 28, 2005. The discovery
deadline in this case is December 15, 2005. Amen`can National Mortgage’s (“Plaintit`t”) response
to Security Title’s motion for summary judgment states that further discovery would substantiate
Plaintiff’s claim against Security Title and raise a genuine issue of material fact as to whether
Defendant conspired in the alleged “property-flipping” scheme. Specitically, Plaintiff asserts that
further discovery is required pertaining to the nature of Security Title’s relationship with other
defendants; the timing and extent of Security Title’s knowledge of the alleged property-flipping

scheme; and Security Title’s role in the transactions underlying Plaintift’ s claim. Plaintiff contends

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Case 2:99-cV-03061-BBD-STA Document 218 Filed 08/03/05 Page 2 of 5 Page|D 277

that the discovery it seeks on these issues can be conducted before the December 15, 2005 discovery
deadline.
A Court, in its discretion, may deny or continue a motion for summary judgment due to lack
of discovery pursuant to Fed. R. Civ. P. 56(f), which provides in pertinent part that:
[s]hould it appear from the affidavits of a party opposing the motion that the party
cannot for reasons stated present by affidavit facts essential to justify the party’s
opposition, the court may refuse the application for judgment or may order a
continuance to permit affidavits to be obtained or depositions to be taken or
discovery to be had or may make such other order as is just.
Fed. R. Civ. P. 56(f). Although it is within the sound discretion of a district court to regulate
discovery practice, summary judgment should not ordinarily be granted before discovery has been
completed Tarleton v. Mehm Medical College, 717 F.2d 1523, 1535 (6th Cir. 1983) (citing
8 C. Wright & A. Miller, Federal Practice and Procedure § 2006, at 35 (1970) and Alaba.ma Farm
Bureau Mutual Casualtv Co., Inc. v. American Fidelitv Life Insurance Co., 606 F.Zd 602, 609 (Sth
Cir.), ccrt. denied, 449 U.S. 820 (1980)); E all Vance v. United States, 90 F.3d 1145, 1148 (6th
Cir. 1996) (“sumrnary judgment is improper if the non-movant is not afforded a sufficient opportunity
for discovery”). The non-movant bears the obligation to inform the court of its need for discovery.
Abercrombie & Fitch Stores. Inc. v. American Eagle Outfrtters. lnc.. 280 F.3d 619, 627 (6th Cir.
2002). A party that cannot present facts in opposition to a motion for summary judgment due to lack
of discovery must file an affidavit to that effect. L; M alj Shavr'noch v. Clark Oil and Refining
@'p_., 726 F.Zd 291, 294 (6th Cir. 1984) (district court did not abuse its discretion by granting

defendant’s summary judgment motion prior to completion of plaintiff s discovery, where plaintiff

did not allege that documents sought in further discovery contained information that would have

Case 2:99-cV-03061-BBD-STA Document 218 Filed 08/03/05 Page 3 of 5 Page|D 278

created genuine issue of` material fact, and never filed affidavit to stay consideration of summary
judgment motion.)

Plaintiff’ s response to Defendant’s motion for summary judgment is well taken. Plaintiff has
Submitted the Affrdavit of Bruce S. Kramer, Plaintiff’ s lead counsel, which effectively provides that
Plaintiff"s inability to respond to Defendant’s summary judgment motion is predicated on its lack
of opportunity to conduct further discovery in this matter. Furtherrnore, Plaintiff has specifically
indicated to the Court the areas on which discovery will be focused. Accordingly, the Court
CONTINUES Security Title’s motion for summary judgement to afford Plaintiff an opportunity

to conduct further discovery, which shall be completed no later than December 15, 2005.

IT IS SO ORDERED this 5a day of August, 2005.

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This notice confirms a copy of the document docketed as number 218 in
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